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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA

Vs.                        CASE NO. 4:11cr00209-35 JM

CHESTER THORTON a/k/a Nut


      Due to a clerical error, the Judgment entered June 20, 2014 (DE #950) is amended
to include the special conditions of Probation announced in the sentencing hearing.

      1) The defendant shall participate under the guidance and supervision of the
      probation officer in a substance abuse treatment program which may include
      testing, outpatient counseling and residential treatment. Further the defendant
      shall abstain from the use of alcohol throughout the course of treatment.

      2) The defendant shall complete 100 hours of community service at the rate of at
        least 8 hours per month, to begin immediately.

      The judgment remains the same except for this correction.

      The Clerk is directed to provide a copy of this Order to the United States Probation

Office and the United States Marshal Service.

      IT IS SO ORDERED THIS 20th day of June, 2014.



                                          UNITED STATES DISTRICT JUDGE
